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                    EXHIBIT 1
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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           NORTHERN DIVISION

NANNETTE WALLS, et al

Plaintiffs,

v.                                      Civil Action No.:1:19-cv-00595-GLR

SIERRA PACIFIC MORTGAGE
COMPANY, INC.

Defendant.




                  CLASS ACTION SETTLEMENT AGREEMENT




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                      CLASS ACTION SETTLEMENT AGREEMENT

       This Class Action Settlement Agreement (“Agreement”) is made and entered into as of

August 9, 2021, by and between Nanette Walls, Thomas Scott and Patricia Cronin, William C.

and Heller Batton, Gregory P. Dopkowski, Sr., Samuel and Beverly Patterson, Jr., Raheim and

Syreeta Patterson, and Arnold N. and Lois Welsh, Jr. (the “Class Representatives”), for

themselves and as the Representatives of a settlement class to be certified by this Court, their

attorneys, Smith, Gildea & Schmidt, LLC, and Joseph, Greenwald & Laake, P.A., (together

“Class Counsel”), and Sierra Pacific Mortgage Company, Inc. (“Sierra Pacific” (collectively,

with the Class Representatives, the “Parties”)).

                                           RECITALS

       WHEREAS, claims have been asserted against Sierra Pacific (the “Litigation Claims”) in

the above-captioned class action lawsuit titled Walls v. Sierra Pacific Mortgage Company, Inc., in

the United States District Court for the District of Maryland, Northern Division, Civil Action No.

1:19-cv-00595-GLR (the “Litigation”), involving the alleged provision of benefits or things of

value by All Star Title, Inc. (“All Star”) to Sierra Pacific’s employees, agents, and/or

representatives in exchange for the referral of borrowers to All Star for the settlement of their

mortgage loans;

       WHEREAS, the Class Representatives, through their counsel, have conducted a thorough

investigation regarding the Litigation Claims asserted against Sierra Pacific in the Litigation,

including through counsel’s discovery of the records of All Star and other persons and entities with

which All Star did business, and through their review of discovery from and relating to All Star;

       WHEREAS, following the filing of the Complaint, Amended Complaint, dismissal motion

practice and ruling on the same, and the filing and granting of a motion for reconsideration of



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dismissal and the filing of the Second Amended Complaint, the Parties and their counsel engaged

in settlement negotiations to resolve the claims asserted against Sierra Pacific; and

       WHEREAS, based on their discovery and investigation of the Litigation Claims, and after

the exchange of settlement offers, mediation discovery, negotiations between counsel in writing,

and a Settlement Conference with the Honorable A. David Copperthite, U.S.M.J., the Class

Representatives and Class Counsel concluded that a settlement with Sierra Pacific, according to

the terms set forth below, is in their best interests and the best interests of the members of the

Class; and

       WHEREAS, while Sierra Pacific disputes the allegations in the Litigation and denies that

it is or may be liable for any of the Litigation Claims, it enters into this Agreement solely to avoid

the further expense, inconvenience, and distraction of protracted discovery and further proceedings

in the Litigation, and does so without any express or implied admission of fact or liability;

       NOW, THEREFORE, the Parties, in consideration of the promises , covenants, and

agreements herein described, and for other good and valuable consideration acknowledged by each

of them to be satisfactory and adequate, and intending to be legally bound, do hereby mutually

agree as follows:

        1.     Recitals: The foregoing Recitals and defined terms therein are incorporated in this

 Agreement.

        2.     Definitions:

        In addition to the terms defined in the Recitals, the following terms shall have the

 meanings set forth below:

         2.1    “Appellate Courts” refers to the United States Court of Appeals for the Fourth

 Circuit and the Supreme Court of the United States.


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       2.2    The term “CAFA Notice” refers to the notice requirements imposed by 28 U.S.C.

§ 1715(b).

       2.3    “Class Counsel Fees and Expenses” refers to the Court-approved award to Class

Counsel of their attorney’s fees and expenses, pursuant to Section 13 of this Agreement.

        2.4   The term “Common Fund” refers to the monies that will be funded by Sierra Pacific

and maintained and disbursed by the Settlement Administrator under the terms of this Agreement

from which the Settlement Benefits, Settlement Benefits, Court-awarded Class Counsel Fees and

Expenses, and Class Representatives’ Service Awards will be paid.

       2.5    The term “Court” refers to the United States District Court for the District of

Maryland.

       2.6    The term “Class” refers to: All individuals in the United States who were borrowers

on a federally related mortgage loan (as defined under the Real Estate Settlement Procedures Act,

12 U.S.C. § 2602) originated or brokered by Sierra Pacific Mortgage Company, Inc., for which

All Star Title, Inc., provided a settlement service, as identified in Section 1100 on the borrower’s

HUD-1 Settlement Statement (HUD-1), or on the borrower’s Closing Disclosure (CD), between

January 1, 2012 and December 31, 2016. Exempted from this class is any person who, during the

period of January 1, 2012 through December 31, 2016, was an employee, officer, member and/or

agent of Sierra Pacific Mortgage Company, Inc., or All Star Title, Inc.; any judicial officer who

handles this case, and the immediate family members of such judicial officer(s); and/or any

persons who submit a complete and valid Request for Exclusion by the Exclusion Deadline.

       2.7    The term “Effective Date” refers to the date on which the Final Approval Order

and Final Judgment Order for this Settlement reach Finality.




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       2.8    The term “Exclusion Deadline” refers to the date established by the Court and to

be set forth in the Mailed Notice for the receipt by the Settlement Administrator of any Requests

for Exclusion.

       2.9    The term “Final Fairness Hearing” refers to the hearing at which the Court shall:

(a) determine whether to grant final approval to this Settlement; (b) consider any timely

objections to this Settlement and all responses thereto; and (c) consider requests for an award of

Class Counsel Fees and Expenses to the Class Counsel and for Service Awards to the Class

Representatives.

       2.10 The term “Finality” refers to: (i) the Court’s entry of both a final order approving

the Settlement under Federal Rule of Civil Procedure 23(e) (the “Final Approval Order”) and a

final Judgment dismissing all Released Claims against Sierra Pacific with prejudice (the “Final

Judgment Order”); and (ii) either (a) no Party or other person has initiated a timely appeal or

otherwise sought review from the Final Approval Order or Final Judgment Order, or (b) if the

Final Approval Order or Final Judgment Order entered by the Court with respect to the Settlement

are appealed to one or both of the Appellate Courts, the Final Approval Order and Final Judgment

Order have been affirmed in their entirety by the Appellate Court of last resort to which such

appeal has been taken and such affirmance is no longer subject to further appeal or review.

       2.11 The term “Judge” refers to any United States District Court Judge or Magistrate

Judge who is now or later assigned to preside over the Litigation.

       2.12 The term “Mailed Notice” refers to the Court-approved Notice regarding the

Settlement that is to be mailed by the Settlement Administrator to members of the Class,

substantially in the form of Exhibit A to this Agreement.




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       2.13 The term “NCOA Database” shall mean the United States Postal Service’s National

Change of Address database.

       2.14 The term “Notice” shall mean, collectively, all Court-approved communications

by which the Class members are notified of the Settlement and the Court’s approval thereof,

including the Mailed Notice.

       2.15 The term “Notice Deadline” refers to the Court-approved deadline for the mailing

of the Mailed Notice.

       2.16 The term “Objection” refers to the timely and complete filing with the Court of a

written objection to the Settlement, which includes all information specified in Section 8 of this

Agreement.

       2.17 The term “Objection Deadline” refers to the date established by the Court and to

be set forth in the Mailed Notice for the filing with the Court of any Objections to the Settlement.

       2.18 The term “Preliminary Fairness Hearing” refers to the hearing at which the Court

shall: (a) determine whether to grant the Motion for Preliminary Approval of this Settlement;

and, if such approval is granted, whether to (b) preliminarily approve the Settlement under the

terms of this Agreement; (c) approve the proposed Notice and Notice Plan (as set out in Section

11, below); (d) appoint the Settlement Administrator; (e) establish the Objection Deadline and

requirements for the filing of Objections to the Settlement; (f) establish the Exclusion Deadline

and requirements for the filing of Requests for Exclusion from the Class; (g) establish a date for

the Final Fairness Hearing; (h) preliminarily appoint Class Counsel as counsel for the Class; and

(i) preliminarily enjoin any member of the Class who does not file a complete and valid Request

for Exclusion by the Exclusion Deadline from filing suit or asserting any claim, demand, and/or

counterclaim with respect to matters released in Section 16 of this Agreement.


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         2.19 The term “Releasees” shall have the meaning set forth in Section 16 of this

Agreement.

         2.20 The term “Releasors” shall have the meaning set forth in Section 16 of this

Agreement.

         2.21 The term “Alleged Claims” refers to all claims relating in any way to the alleged

acts of Sierra Pacific related in any way to the alleged facts and circumstances described in the

Complaint and in any Amended Complaints filed in connection with the Litigation.

         2.22 The term “Request for Exclusion” refers to a complete written request to be

excluded from the Class that includes all information specified in Section 9 of this Agreement

and is received by the Settlement Administrator before the Exclusion Deadline approved by the

Court.

         2.23 The term “Service Awards” refers to Court-approved awards to the Class

Representatives, pursuant to Section 12 of this Agreement.

         2.24 The term “Settlement” refers to the settlement, release, and final dismissal of

claims contemplated by this Agreement.

         2.25 The term “Settlement Administrator” refers to the entity engaged to send the

Mailed Notice of the Settlement, process Requests for Exclusion, disburse payments to members

of the Class from the Common Fund, maintain a website regarding the Settlement, and to perform

all other tasks set forth in Section 10 of this Agreement.

         2.26 The term “Settlement Benefits” refers to the benefits to be remitted under the terms

of this Agreement from the Common Fund to eligible members of the Class as detailed in Section

7 of this Agreement.




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        2.27 With respect to actions or events which must occur within a certain amount of time,

 days shall be computed in the manner described in Federal Rule of Civil Procedure 6.

        2.28 Definitions used herein shall apply to the singular and plural forms of each term

 defined.

        2.29 Definitions used herein shall apply to the masculine, feminine, and neuter genders

 of each term defined.

        2.30 References to a person or entity under this Agreement include their permitted heirs,

 personal representatives, executors, affiliates, successors, and assigns.

        2.31 Whenever the words “include,” “includes,” or “including” are used in this

 Agreement, they shall not be limiting, but rather shall be deemed to be followed by the words

 “without limitation.”

       3.      Conditional Nature of Agreement: This Agreement and the Settlement

contemplated hereby are expressly conditioned upon all of the following, which the parties agree

are each material conditions precedent to the payment of Settlement Benefits to members of the

Class, the payment of any Court-awarded Service Awards, and the payment of any Court-awarded

Class Counsel Fees and Expenses to Class Counsel under this Agreement:

        3.1    Plaintiffs’ filing with the Court of a Motion for Preliminary Approval of the

 Settlement;

        3.2    The Court’s holding of the Preliminary Fairness Hearing, and issuance of a

 Preliminary Approval Order: (a) granting the Motion for Preliminary Approval of the Settlement

 as written in this Agreement; (b) preliminarily approving the Settlement under the terms of this

 Agreement; (c) approving the proposed Notice and the Notice Plan; (d) appointing the Settlement

 Administrator; (e) establishing the Objection Deadline and requirements for the filing of


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Objections to the Settlement; (f) establishing the Exclusion Deadline and requirements for the

filing of Requests for Exclusion from the Class; (g) establishing a date for the Final Fairness

Hearing; and (h) preliminarily enjoining the members of the Class who do not file complete and

valid Requests for Exclusion by the Exclusion Deadline from filing suit or asserting any claims,

demands, and/or counterclaim with respect to matters released in Section 16 of this Agreement;

        3.3    The mailing of the approved Mailed Notice to the Class, although the Parties agree

that if mail is returned or otherwise not deliverable as addressed, the “Mailed Notice” is still

deemed mailed for purposes of satisfying this condition precedent;

        3.4    The expiration of the Objection Deadline and Exclusion Deadline;

        3.5    That either (a) by the Exclusion Deadline complete and valid Requests for

Exclusion are filed with respect to no more than 5% of the loans that the Class obtained that are

the subject of the Litigation; or (b) Sierra Pacific elects, at its option, up to ten (10) days after the

Exclusion Deadline, to proceed with the Settlement notwithstanding the failure of the condition

set forth in Section 3.5(a);

        3.6    Plaintiffs’ filing with the Court of a Motion for Final Approval of the Settlement

and the Entry of Final Judgment dismissing with prejudice all claims of the Class asserted in the

Litigation against Sierra Pacific;

        3.7    The Court’s holding of the Final Fairness Hearing and issuance of a Final Approval

Order and Final Judgment Order: (a) rejecting or denying any Objections to the Settlement; (b)

granting the Motion for Final Approval; (c) granting final approval of the Settlement as written

in this Agreement and the release of claims set forth in Section 16 of this Agreement by the Class

Representatives and the members of the Class who did not file complete and valid Requests for

Exclusion by the Exclusion Deadline; (d) dismissing with prejudice all claims of the Class



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 asserted in the Litigation against Sierra Pacific by the Class Representatives on behalf of

 themselves and all members of the Class who did not file a complete and valid Request for

 Exclusion; and (e) permanently enjoining any members of the Class who did not file complete

 and valid Requests for Exclusion by the Exclusion Deadline from filing suit or any claim,

 demand, and/or counterclaim with respect to matters released in Section 16 of this Agreement;

            3.8   Class Counsel’s filing of a Motion for the Award of Class Counsel Fees and

 Expenses and a Motion for Service Awards to the Class Representatives, consistent with the

 terms of this Agreement;

            3.9   The Court’s issuance of an Order deciding the Motion for the Award of Class

 Counsel Fees and Expenses and the Motion for Service Awards to the Class Representatives,

 with the understanding that any order awarding the Class Counsel Fees and Expenses and the

 Class Representatives’ Service Awards shall not exceed the maximum amounts set forth in

 Sections 12 and 13 of this Agreement, and provided that the Settlement shall not be conditioned

 on the Court awarding Class Counsel Fees and Expenses and/or Service Awards at or above any

 particular dollar value;

        3.10      The Orders of the Court granting final approval to the Settlement reaching Finality.

        Should any of these conditions not be met, the Parties agree that the Settlement and the

terms of this Agreement shall terminate and be deemed null and void, except for Sections 5.3, 14,

and 17.3 hereof which will survive the termination of this Agreement, and any other provisions

or sections of this Agreement which expressly state that they survive termination of this

Agreement.

       4.         Cooperation By The Parties: The Parties and their counsel agree to cooperate fully

and in good faith with each other to promptly execute all documents and take all steps necessary



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to effectuate the Settlement consistent with the terms and conditions of this Agreement. The Class

Representatives and Class Counsel agree to support, and Sierra Pacific agrees not to oppose, the

preliminary and final approval of this Settlement consistent with the terms and conditions of this

Agreement, including with respect to any appeal of the Final Approval Order and Final Judgment

Order and any collateral attack on the Settlement or the Final Approval Order and Final Judgment

Order, to the extent the Settlement, Final Approval Order, and Final Judgment Order are consistent

with the terms and conditions of this Agreement.

        5.     Class Member List.

        5.1    Class Counsel have identified approximately 307 borrowers of federally related

 mortgage loans (as defined under the Real Estate Settlement Procedures Act, 12 U.S.C. § 2602)

 originated or brokered by Sierra Pacific that were closed through All Star between January 1,

 2012, and December 31, 2016, who Class Counsel believe are members of the Class. Sierra

 Pacific and Class Counsel agree to cooperate in good faith to identify members of the Class and

 their contact information through reasonable efforts and research of records and information

 available to the parties. Sierra Pacific and Class Counsel will identify the final Class Member

 List on or before the mailing of the Mailed Notice, provided that nothing shall preclude the Parties

 or the Settlement Administrator from asserting, prior to issuance of the Final Approval Order,

 that any person identified on the Class Member List is not eligible to be a member of the Class.

        5.2    The Parties agree and stipulate that the final Class Member List will include all of

 the potentially eligible members of the Class. Neither the Parties nor Class Counsel are currently

 aware of any potentially eligible Class members that have not yet been identified for inclusion on

 the final Class Member List.




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        5.3   The Parties agree and acknowledge that the Class Member List contains certain

 confidential information and that the account information identified in the Class List constitutes

 confidential material. Therefore, the Parties agree to treat the Class Member List as confidential

 and to use the Class Member List and the information contained therein solely for the purpose of

 providing the Settlement Benefits offered by this Agreement to members of the Class and

 otherwise implementing the terms of this Agreement, and for no other purpose whatsoever.

 Except to the extent authorized by this Agreement, the Parties further agree that they will not

 disclose the Class Member List or any of the information contained in the Class Member List to

 members of the Class or any third party, except pursuant to court order. Notwithstanding any

 contrary language contained in this Agreement, the provisions of this paragraph shall survive any

 termination or modification of this Agreement and shall continue to be binding regardless of

 whether or not the Settlement is fully implemented or receives preliminary or final approval.

 Notwithstanding the foregoing, the confidentiality of the Class Member List, and the information

 contained therein, does not extend to information that is learned by Class Counsel through

 legitimate means other than from Sierra Pacific. For the avoidance of any doubt, in the event the

 Settlement does not reach Finality, Class Counsel may use the Class Member List for purposes

 of the Litigation (provided, however, that it shall not constitute an admission or waiver by Sierra

 Pacific of any fact or contention), subject to the Mediation Confidentiality and Non-Disclosure

 Agreement under which the Class Member List shall be designated Confidential.
      6.     Common Fund:

       The Common Fund shall total $990,000, plus the amount of Class Counsel Fees and

Expenses awarded by the Court (which shall not exceed $275,000), plus the amount of Class

Representatives’ Service Awards awarded by the Court (which shall not exceed $7,000), for a total


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funding amount of no more than $1,272,000.00 (collectively, the “Funding Amount”). The

Common Fund shall be maintained in an interest-bearing account. In the event this Agreement or

the Settlement are terminated or not approved, the balance of the Common Fund, if any, will be

refunded to Sierra Pacific.

       Within twenty-one (21) days after entry of the Final Approval Order, Sierra Pacific shall

remit to the Settlement Administrator the Funding Amount to fully fund the Settlement Benefits,

Court-approved Class Counsel Fees and Expenses, and Class Representative Service Awards. The

money in the Common Fund shall be maintained to pay all amounts due in accordance with the

terms of the Settlement, as approved by the Court. No funds shall be disbursed from the Common

Fund until either: a) the Settlement reaches Finality; or b) the Settlement and this Agreement are

terminated. Funds shall only be disbursed from the Common Fund as provided for under the terms

of this Agreement.

       Once Sierra Pacific has deposited the Funding Amount described above into the Common

Fund, Sierra Pacific shall not have any other obligation to pay any additional funds into the

Common Fund, and shall not be obligated to disburse any additional funds pursuant to the terms

of this Agreement, except for the Settlement Administrator’s reasonable fees and expenses as

provided for in Section 10.1.

       7.      Settlement Benefits:

         7.1   Adjustments to the Common Fund. The following adjustments shall be made to

 and subtracted from the Common Fund:

               (a)    Payment of Class Counsel Fees and Expenses in an amount not to exceed

                      two hundred seventy-five thousand ($275,000) dollars, subject to Court

                      approval. While Sierra Pacific has no obligation to support any such Petition



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                    for Counsel fees and costs, they agree not to object to a Motion for the Award

                    of Class Counsel Fees and Expenses, provided that it is consistent with

                    Section 13 of this Agreement; and

               (b) Payment of Class Representatives’ Service Awards in the amount of up to

                    One Thousand ($1,000) Dollars (from the Common Fund and in addition to

                    the Settlement Benefit) per each Class Representative (or, in the case of co-

                    borrower Class Representatives, to them jointly) who is appointed as a Class

                    Representative under this Settlement. While Sierra Pacific has no obligation

                    to support any such Petition for Class Service Awards, they agree not to

                    object to a Petition for Service Award filed by the Class Representatives,

                    provided that it is consistent with Section 12 of this Agreement.

       7.2    Within fourteen (14) days after Finality of the Settlement, the Common Fund, less

the adjustments set forth in Paragraph 7.1, will be distributed to those members of the Class who

did not file a complete and valid Request for Exclusion by the Exclusion Deadline. Each of these

class members shall receive by check a proportionate share of the Common Fund remaining after

deduction of any awards of Class Counsel Fees and Expenses and Service Awards as provided

in Paragraph 7.1. The formula for distribution shall be the Common Fund less any awards of

Class Counsel Fees and Expenses and Service Awards, divided by the number of members of the

Class who did not file a complete and valid Request for Exclusion by the Exclusion Deadline.

       7.3    To the extent that there is more than one borrower on a Sierra Pacific loan subject

to this Settlement, the co-borrowers shall be deemed to be one member of the Class and the

Settlement Benefits shall be paid by check payable jointly to the co-borrowers on such loan.




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Sierra Pacific shall have no liability to any co-borrower arising from any claim regarding the

division of Settlement Benefits among co-borrowers.

       7.4    Settlement Benefits checks shall be mailed by first-class mail by the Settlement

Administrator to the last known addresses for those Class members eligible to receive Settlement

Benefits under this Settlement. If there is more than one borrower on a subject loan and the co-

borrowers have the same last known address, the Settlement Benefits check will be mailed to that

last known address, subject to the Settlement Administrator checking the validity of the last

known address through the NCOA Database. If there is more than one borrower on a subject

loan and the co-borrower’s last known address differs from that of the primary borrower, the

Settlement Benefits check will be mailed to the last known address for the primary borrower on

that loan, and the Settlement Administrator will also send either a letter informing the co-

borrower that the check for Settlement Benefits was sent to the primary borrower, or a photocopy

of the transmittal letter, to the co-borrower’s last-known mailing address, subject to the

Settlement Administrator checking the validity of the last known addresses through the NCOA

Database.

       7.5    Settlement Benefits checks shall be notated as void after seventy-five (75) days

from the date on the check. If a Settlement Benefits check remains un-negotiated after eighty

(80) days from the date of the check, the Settlement Administrator shall stop payment on the

uncashed Settlement Benefits heck, undertake an updated address verification for the primary

borrower and, if that address has changed since the mailing of original Settlement Benefits check,

the Settlement Administrator shall reissue a replacement Settlement Benefits check to the

payee(s) and mail the replacement check by first-class mail to the updated address for the primary

borrower. Any reissued Settlement Benefits check shall also be notated as void after seventy-five



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(75) days. If the reissued Settlement Benefits check remains un-negotiated after eighty (80) days

from the date of the reissued check, the Settlement Administrator shall stop payment on the

uncashed Settlement Benefits check. Any funds left in the Common Fund after these procedures

have been carried out will revert to Sierra Pacific in accordance with Section 7.7.

       7.6    On receipt of a joint settlement benefit check, any co-borrower(s) may contact the

Settlement Administrator and request that the Settlement Benefits be split evenly between each

co-borrower. In such cases, if the original Settlement Benefits check has not already been

negotiated, the Settlement Administrator shall stop payment on the original Settlement Benefit

check and shall issue new checks to each co-borrower in amounts reflecting an even split of the

Settlement Benefits between each co-borrower.

       7.7    In the case of deceased class members, the estate of the deceased class member

shall be entitled to exercise all of the rights of the deceased class member available under this

Settlement, including to receive Settlement Benefits and/or to object to or request exclusion from

the Settlement, and the estate of any deceased class member covered by this Settlement will be

subject to the release in Section 14 of this Agreement and all other provisions of this Agreement

as if the estate were a member of the Class. For purposes of this paragraph, only the person(s)

authorized by probate court order to represent the class member’s estate, or who are otherwise

authorized pursuant to the probate laws applicable to the deceased class member to represent the

class member’s estate, may act on behalf of the estate. The person(s) authorized to act on behalf

of the estate of any deceased class member may contact the Settlement Administrator about any

issues related to this Settlement which affect the estate, and the Settlement Administrator, Sierra

Pacific, Class Counsel, and the estate shall work together in good faith to resolve any issues

related to the applicability of the settlement to deceased class members and their estates,



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 including the manner in which and to whom Settlement Benefits are distributed.                   The

 representative of the estate of a deceased class member shall be required to provide to the

 Settlement Administrator reasonable proof or other evidence or documentation showing that the

 class member is deceased and that the representative is authorized to act on behalf of the estate

 of the deceased class member.

        7.8     Any funds remaining in the Common Fund account 215 days after Finality of the

 Settlement shall be remitted by the Settlement Administrator to Sierra Pacific with interest earned

 on the Common Fund. This shall include any amounts attributable to un-negotiated Settlement

 Benefit Checks as of that date. Funds remaining in the Common Fund account 215 days after

 Finality of the Settlement shall not be subject to cy pres, escheat to the state, or any other process

 or legal doctrine whereby the funds would be due, owed, or given to any person or entity other

 than Sierra Pacific.

       8.       Right To Object To The Settlement: Any member of the Class shall have the

right to object to the Settlement by filing a written Objection with the Court at the address listed

in the Mailed Notice and by mailing copies thereof to the Parties’ counsel, not later than the

Objections Deadline established by the Court, which shall not be more than forty-five (45) days

after the date the Mailed Notice is mailed to the Class, or as otherwise ordered by the Court. All

Objections must be signed by the person(s) making the objection, or an attorney, legal guardian,

or other person legally authorized to act on their behalf, and must set forth in detail each component

of the Settlement to which they object, the reasons for each such objection, and any legal authority

that they wish the Court to consider in support thereof. Objections must also include the objector’s

full name and current address, the full name and current address of any co-borrower(s) on their

Sierra Pacific mortgage loan, the address of the property which secured their Sierra Pacific



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mortgage loan, and an affirmation, under penalty of perjury, that the person on whose behalf the

objection is filed and all of their co-borrower(s), if any, object to the Settlement and intend to

appear at the Final Fairness Hearing, at which time their Objections will be considered, if not

previously withdrawn.

       9.      Right To Be Excluded (Opt-Out) From The Settlement:

       9.1.      Any member of the Class shall have the right to opt-out of the Class by sending a

written Request for Exclusion from the Class to the Settlement Administrator at the address listed

in the Mailed Notice, which must be received by the Settlement Administrator no later than the

Exclusion Deadline set by the Court, which shall not be more than forty-five (45) days after the

date the Mailed Notice is mailed to the Class, or as otherwise ordered by the Court. Requests for

Exclusion must be signed by the person requesting exclusion from the Class and any co-

borrower(s) on their Sierra Pacific mortgage loan and must include the requestor’s full name and

current address, the full name and current address of any co-borrower(s) on their Sierra Pacific

mortgage loan, the address of the property which secured their Sierra Pacific mortgage loan, and

an affirmation, under penalty of perjury, that the requestor seeking to be excluded from the Class

and their co-borrower(s), if any, wish to opt-out of the Class and understand that, in doing so, they

will not be entitled to any Settlement Benefits under the Settlement. No single Request for

Exclusion shall be effective as to more than one borrower or set of co-borrowers. In no event shall

any notice in which a person, who does not possess a valid power of attorney, purports to opt any

other person out of the Settlement (including any group, aggregate, or class involving more than

one Class member) be considered a valid opt-out. Individuals are not permitted to exclude other

individuals, and if there is a group of opt-outs each individual borrower must evidence his or her

intent to opt out by complying with the procedures above. Any opt-out submitted by a borrower



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on behalf of a group, aggregate, or putative class shall be deemed valid as to that borrower’s loan

only, and shall be invalid as to the group, aggregate, or putative class.

       9.2.      No Class Member shall be entitled to both object to the settlement, as provided

for in Section 8, and to request exclusion from the class, as provided for in this Section. To the

extent any person purports to both object to the settlement and submit a Request for Exclusion

from the Class, the objection shall be deemed invalid and of no effect, and the person shall be

deemed solely to have opted-out of the class.

       10.      Settlement Administrator:

         10.1 Sierra Pacific will select and retain the Settlement Administrator subject to the

 approval by Class Counsel, which approval shall not be unreasonably withheld, and approval and

 appointment by the Court. Sierra Pacific shall pay the reasonable fees and expenses of the

 Settlement Administrator incurred in the Notice and administration of the Settlement, not to

 exceed $20,000. Sierra Pacific shall provide a copy of this Agreement to the Settlement

 Administrator and obtain a quote for the cost of administering the Settlement and discharging the

 duties described in ¶10.2. Class Counsel may request a copy of this quote from Sierra Pacific as

 a precondition to providing approval of any Settlement Administrator.

         10.2 The Settlement Administrator shall be responsible for administering the

 Settlement, including:

         (a)    in connection with all mailed items sent to members of the Class, including the

 Mailed Notice and checks containing Settlement Benefits, undertaking address verifications for

 the members of the Class through the NCOA Database prior to making any such mailings or

 second mailings;

         (b)    sending the Mailed Notice, pursuant to Section 11 of this Agreement;



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       (c)    preparing reports regarding the Mailed Notice, as directed by the Parties’ counsel

and in accordance with the deadline established by the Court;

       (d)    accepting and reporting on Requests for Exclusion received by the Exclusion

Deadline;

       (e)    establishing and maintaining a Settlement website;

       (f)    opening an interest-bearing account for the deposit of the Common Fund, at a

federally-insured depository institution with a branch in the District of Maryland, and for

remitting payments from the Common Fund to eligible members of the Class, the Class

Representatives, and Class Counsel, in such amounts as are provided for under the terms of this

Agreement and are approved by the Court;

       (g)    preparing such declarations or affidavits as are necessary to present to the Court

with respect to the Settlement Administrator’s duties and fulfillment thereof in support of final

approval of the Settlement;

       (h)    issuing Form 1099s, Form W-9s, and any other tax or governmental forms to the

extent required to carry out the terms of the Settlement Class; and

       (i)    such other duties as directed by Sierra Pacific, provided that any modification of

the duties referenced in subparts (a)-(h) of this Section must be mutually agreed to by the Parties.

       10.3    The Parties consent to the release to the Settlement Administrator of the names,

addresses, and social security numbers for Class Members solely for the purposes of fulfilling

the Settlement Administrator’s duties under this Agreement, which information shall be securely

maintained as confidential by the Settlement Administrator and shall be destroyed by the

Settlement Administrator at the conclusion of its duties.

      11.     Notice of The Settlement:



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       11.1 Notice of the Settlement shall be provided through a Court-approved plan for

Notice, which shall include the mailing of the Mailed Notice to the respective members of the

Class under this Settlement by the Notice Deadline and by postings such Notice on the Settlement

Website, as set forth in this Section.

       11.2 Within twenty (20) days following entry of the Preliminary Approval Order,

the Settlement Administrator shall mail to the members of the Class a Court-approved Notice

substantially in the form attached as Exhibit A.

       11.3 The Mailed Notice shall be sent by first-class mail to the class member’s last known

address reflected on the final Class List. If there is more than one borrower on a subject loan and

the co-borrowers have the same last known address, the Mailed Notice will be mailed to the co-

borrowers’ shared last known address. If there is more than one borrower on a subject loan and

the co-borrowers have different last known addresses, separate Mailed Notices will be mailed to

each co-borrower’s last known address.

       11.4 The Settlement Administrator shall also establish and maintain a website relating

to the Settlement (the “Settlement Website”) on which it will post copies of the Mailed Notice,

the Second Amended Complaint in the Litigation, and, following their issuance, the Preliminary

Approval Order, Final Approval Order, and Final Judgment Order pertaining to this Settlement,

as well as contact information for Class Counsel and the Settlement Administrator. The

Settlement Website shall be established not later than twenty (20) days after the issuance of the

Preliminary Approval Order and will remain active for one hundred eighty (180) days after the

Settlement reaches Finality, unless this Agreement is terminated earlier.

       11.5 All costs associated with the Notice and Settlement Website shall be paid by Sierra

Pacific.



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       12.     Class Representatives’ Service Awards: The Class Representatives shall have

the right to file a motion with the Court, no later than thirty (30) days before the Final Fairness

Hearing, for Service Awards to each Class Representative not to exceed one thousand dollars

($1,000) per Class Representative or group of Class Representatives who are co-borrowers, and

shall not exceed $7,000 in total. Sierra Pacific agrees not to object to such a motion for Service

Awards filed by the Class Representatives, provided that it is consistent with this Section. Any

Service Awards to the Class Representatives approved by the Court shall be paid from the

Common Fund as provided for in Section 7.1 and shall be in addition to the Settlement Benefits

payable to the Class Representatives. Each Class Representative receiving a Service Award will

provide Sierra Pacific with a completed Form W-9.

       Approval by the Court of the Service Awards shall not be a precondition to approval of the

Settlement or entry of the Final Judgment Order in accordance with this Agreement. Class

Representatives and Class Counsel may not cancel or terminate the Settlement based on the

Court’s or any Appellate Court’s ruling with respect to the Service Awards or the disbursement

thereof. Any appeal relating to Service Awards will not affect the Finality of the Settlement, the

entry of the Final Approval Order or the Final Judgment Order, or the release provided in Section

16 of this Agreement. Class Counsels’ Motion for Service Awards may be considered separately

from the Settlement.

       13.     Class Counsels’ Attorneys’ Fees and Costs: Plaintiffs’ Counsel, if appointed as

Class Counsel under this Settlement, shall have the right to file a motion with the Court, no later

than thirty (30) days before the Final Fairness Hearing, for an award of Class Counsel Fees and

Expenses in an amount not to exceed two hundred seventy-five thousand ($275,000) Dollars, for

fees and expenses incurred in the prosecution and settlement of the Litigation Claims pursuant to



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the Local Rules of the Court (a “Motion for Fees and Expenses”). While Sierra Pacific has no

obligation to support the Class Counsel’s Motion for Fees and Expenses, Sierra Pacific agrees not

to oppose any such Motion if Class Counsel seeks an award of fees and expenses of no more than

$275,000, provided that payment of any fees or expenses awarded shall not be made except out of

the Common Fund after the Settlement reaches Finality.

        13.1 Payment of any award of attorneys’ fees, costs, and expenses shall come from the

 Common Fund as set forth in Section 7.1 of the Agreement. No check or other method of

 transferring the funds for the payment of Court-awarded attorneys’ fees, costs, and expenses will

 be issued until Class Counsel provides signed and completed Form W-9s (current as of the date

 of payment) to the Settlement Administrator. The manner or method in which any award of Class

 Counsel Fees and Expenses is divided among Class Counsel shall be the sole responsibility of

 Class Counsel, shall not affect Sierra Pacific’s rights and obligations under this Agreement or

 require any additional payments by Sierra Pacific into the Common Fund or to Class Counsel

 beyond those described in Sections 6 and 7.

        13.2 Approval by the Court of Class Counsels’ Motion for Fees and Expenses shall not

 be a precondition to approval of the Settlement or entry of the Final Judgment Order in

 accordance with this Agreement. Class Representatives and Class Counsel may not cancel or

 terminate the Settlement based on the Court’s or any Appellate Court’s ruling with respect to

 fees, costs, expenses, or the disbursement thereof. Any appeal relating to Class Counsel’s Motion

 for Fees and Expenses will not affect the Finality of the Settlement, the entry of the Final

 Approval Order or the Final Judgment Order, or the release provided in Section 16 of this

 Agreement. Class Counsels’ Motion for Fees and Expenses may be considered separately from

 the Settlement.



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       14.     Restoration of Rights, Claims, and Defenses In the Event of Non-Approval: In

the event that the Settlement under this Agreement does not receive Preliminary and/or Final

Approval by the Court or the orders of the Court approving the Settlement do not reach Finality,

this Agreement shall terminate, and all negotiations, filings, documents, orders, and proceedings

relating thereto shall not be discoverable or admissible in the Litigation or otherwise, and shall be

without prejudice to the rights of the Parties hereto, who shall be restored to their respective

positions and retain all of their rights and defenses existing immediately prior to the Settlement.

For the avoidance of doubt, if the Common Fund has been funded, and the orders of the Court

approving the Settlement do not reach Finality or the Settlement is otherwise terminated, any funds

remaining in the Common Fund shall be remitted by the Settlement Administrator to Sierra Pacific.

This provision will survive termination of this Agreement.

       15.     Mutual Non-Disparagement:

       The Parties agree that the Class Representatives will not disparage Sierra Pacific.

Similarly, Sierra Pacific will not disparage the Class Representatives.

       16.     Release, Waiver, and Covenant Not to Sue:

         16.1 In consideration of the Settlement Benefits and other payments specified in this

 Agreement, and for other good and valuable consideration, the Class Representatives, all

 members of the Class, as identified on the final Class Member List, who do not timely exclude

 themselves from the Settlement, and all of their respective spouses, heirs, executors, personal

 representatives, subrogees, successors, and assigns (together “the Releasors”), release, remise,

 resolve, waive, acquit, and forever discharge Sierra Pacific, its predecessors, successors, assigns,

 past and present parents, and subsidiaries, and all of their past and present agents, directors,

 officers, employees, shareholders, insurers, financial institution bond-issuers, representatives,


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and attorneys (together “the Releasees”) of and from any and all the Released Claims (as defined

below).

        16.2 The term “Released Claims” means any and all claims, causes of action, suits,

obligations, debts, demands, agreements, promises, liabilities, damages, losses, controversies,

costs, expenses, and attorneys’ fees of any nature whatsoever, whether based on any federal law,

state law, common law, territorial law, foreign law, contract, rule, regulation, regulatory

promulgation (including, but not limited to, any opinion or declaratory ruling), common law or

equity, whether known or unknown, suspected or unsuspected, asserted or unasserted, foreseen

or unforeseen, actual or contingent, liquidated or unliquidated, punitive, compensatory, or

equitable, including Unknown Claims (as defined below) as of the date of the Final Approval

Order, that any of the Releasors have, had, and/or may have against any of the Releasees which

in any way concern and/or relate to: (a) the matters alleged and claims asserted in the Litigation

and/or claims that could have been alleged therein based on the facts alleged in the complaints

filed in the Litigation; (b) All Star’s closing of and/or provision of settlement and/or title services

on the loans brokered or made by Sierra Pacific that are the subject of the Settlement; (c) the

origination of the loans that are the subject of the Settlement; (d) the Alleged Claims; (e) any

benefit(s), payment(s), and/or thing(s) of value received by Sierra Pacific and/or its employees,

agents, and/or representatives from All Star; and (f) any benefit(s), payment(s), and/or thing(s)

of value received by All Star from Sierra Pacific and/or its employees, agents, and/or

representatives (collectively the “Released Claims”). The Parties shall request that this Release

be included in the Final Order and Judgment entered in this case.

        16.3 “Unknown Claims” means any Released Claims which the Class Representatives

or any other Class Member do not know or suspect to exist in their favor at the time of the release



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 of such claims which, if known by them might have affected their decision(s) with respect to this

 Settlement. The Parties stipulate and agree that, upon the entry of the Final Judgment Order, the

 Class Representatives shall expressly waive, and each of the Class Members who have not opted

 out shall be deemed to have waived, and by operation of the judgment shall have expressly

 waived, any and all provisions, rights, and benefits conferred by any law of any state or territory

 of the United States, or principle of common law or foreign law, which is similar, comparable,

 or equivalent to California Civil Code § 1542, which provides:

          A general release does not extend to claims that the creditor or releasing
          party does not know or suspect to exist in his or her favor at the time of
          executing the release and that, if known by him or her, would have
          materially affected his or her settlement with the debtor or released
          party.

The Class Representatives acknowledge, and each of the other Class Members shall be deemed by

operation of law to have acknowledged, that the foregoing waiver was separately bargained for

and is a key element of the Settlement. The Class Representatives further acknowledge, and all

Class Members shall be deemed by operation of the Final Judgment Order to have acknowledged,

that they are aware that they may hereafter discover facts in addition to or different from those

which they now know or believe to be true with respect to the subject matters of the Released

Claims, but that it is their intention upon the Effective Date, to have, fully, finally, and forever

settled and released any and all claims within the scope of the Released Claims, whether known

or unknown, suspected or unsuspected, contingent or noncontingent, whether or not concealed or

hidden, which now exist, may hereafter exist, or may heretofore have existed, without regard to

the subsequent discovery or existence of such different or additional facts. All of the foregoing is

the definition of “Unknown Claims.”

         16.4 The Class Representatives and the Class Members agree and covenant not to sue

 any of the Releasees with respect to any of the Released Claims, or otherwise to assist others in
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 doing so, and agree to be forever barred from doing so, in any court of law or equity, or any other

 forum, except for claims to enforce this Agreement.

       16.5       Specifically excluded from this Release are any claims or causes of actions of any

nature whatsoever by any member of the Class who timely and validly exclude themselves from

the Settlement.

       17.        Miscellaneous:

        17.1 This Agreement, whether or not finally approved, or whether or not a final

 judgment is entered, and any and all negotiations, documents, and discussions associated with it,

 shall not be deemed or construed to be an admission or evidence of any violation of any statute

 or law, or of any liability or wrongdoing by Sierra Pacific, or of the truth of any of the claims or

 allegations made in connection with the Litigation. This provision shall survive the termination

 of this Agreement.

        17.2 Sierra Pacific shall be responsible for serving the requisite CAFA Notice within

 ten (10) days after the filing of the Motion for Preliminary Approval. Sierra Pacific shall provide

 Class Counsel notice of any objection received in connection with its CAFA Notice or shall

 confirm no later than ten days before the deadline to file the Motion for Final Approval that no

 objections were received in connection with its CAFA Notice.

        17.3 The Court shall retain jurisdiction over the implementation, enforcement, and

 performance of this Agreement, and shall have exclusive jurisdiction over any suit, action,

 proceeding, or dispute arising out of or relating to this Agreement or the applicability of this

 Agreement.




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       17.4 This Agreement shall be governed by and interpreted according to the laws of the

State of Maryland, without regard to its choice of law or conflict of laws principles, except as to

federal law relating to class action settlements under Fed. R. Civ. P. 23(b)(3).

       17.5 This Agreement constitutes the entire agreement among the Parties pertaining to

the Settlement and supersedes any and all prior and contemporaneous undertakings in connection

therewith.

       17.6 Modifications or amendments to this Agreement may only be made through a

writing executed by the Parties and Class Counsel, provided that after issuance by the Court of

the Preliminary Approval Order, any modifications or amendments to this Agreement which limit

or reduce the rights of the Class Members or which conflict with any order of the Court must also

be approved by the Court.

       17.7 This Agreement was drafted jointly by the Parties after arms-length negotiations.

Neither Sierra Pacific, nor the Class Representatives or Class Counsel, shall be considered to be

the drafter of this Agreement or any of its provisions for the purpose of any statute, case law, or

rule of interpretation or construction that would or might cause any provision to be construed

against the drafter of this Agreement.

       17.8 Where this Agreement requires any party to provide notice or any other

communication or document to any other party, such notice, communication, or document shall

be provided by letter by overnight delivery and by e-mail to the following persons:

      If to Sierra Pacific:   Michael Y. Kieval
                              Joseph M. Katz
                              Weiner Brodsky Kider PC
                              1300 Nineteenth Street, NW, Fifth Floor
                              Washington, DC 20036
                              kieval@thewbkfirm.com
                              katz@thewbkfirm.com



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      If to Class Counsel:    Michael Paul Smith
                              Melissa English
                              Smith, Gildea & Schmidt, LLC
                              600 Washington Ave., Suite 200
                              Towson, MD 21204
                              mpsmith@sgs-law.com
                              menglish@sgs-law.com

                              Timothy F. Maloney
                              Veronica B. Nannis
                              Joseph, Greenwald & Laake
                              6404 Ivy Lane, Suite 400
                              Greenbelt, Maryland 20770
                              (301) 220-2200 / (301) 220-1214 (fax)
                              tmaloney@jgllaw.com
                              vnannis@jgllaw.com

       17.9 The Parties have carefully and fully read this Agreement and discussed it with their

respective attorneys or have been given the opportunity to do so; they understand all terms and

conditions of this Agreement; they accept and execute this Agreement as their own free and

voluntary act, and with the intent and capacity to be legally bound.

       17.10 This Agreement may be executed in one or more counterparts. All executed

counterparts and each of them shall be deemed to be one and the same instrument. Counsel for

the Parties shall exchange among themselves signed counterparts. Signatures may be originals,

or facsimile or scanned copies. This Agreement may be executed by the Parties using a nationally

recognized electronic signature vendor, such as Docu-Sign and/or Hello Sign.




                       [SIGNATURES ON THE FOLLOWING PAGES]




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        IN WITNESS WHEREOF, the parties have executed this Agreement as follows:


            08 / 05 / 2021

Date:                                            Nanette Walls



Date:                                            Thomas Scott


____________________________________             _____________________________________
Date:                                            Patricia Cronin


____________________________________             _____________________________________
Date:                                            William C. Batton



Date:                                            Heller Batton


____________________________________             _____________________________________
Date:                                            Gregory P. Dopkowski, Sr.


____________________________________             _____________________________________
Date:                                            Samuel Patterson, Jr.


_____________________________________            _____________________________________
Date:                                            Beverly Patterson


____________________________________             _____________________________________
Date:                                            Raheim Patterson


____________________________________             _____________________________________
Date:                                            Syreeta Patterson

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        IN WITNESS WHEREOF, the parties have executed this Agreement as follows:




Date:                                            Nanette Walls

                                                  Deceased
Date:                                            Thomas Scott

 08 / 09 / 2021
____________________________________             _____________________________________
Date:                                            Patricia Cronin


____________________________________             _____________________________________
Date:                                            William C. Batton



Date:                                            Heller Batton


____________________________________             _____________________________________
Date:                                            Gregory P. Dopkowski, Sr.


____________________________________             _____________________________________
Date:                                            Samuel Patterson, Jr.


_____________________________________            _____________________________________
Date:                                            Beverly Patterson


____________________________________             _____________________________________
Date:                                            Raheim Patterson


____________________________________             _____________________________________
Date:                                            Syreeta Patterson

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        IN WITNESS WHEREOF, the parties have executed this Agreement as follows:




Date:                                            Nanette Walls



Date:                                            Thomas Scott


____________________________________             _____________________________________
Date:                                            Patricia Cronin

          08 / 02 / 2021
____________________________________             _____________________________________
Date:                                            William C. Batton

          08 / 02 / 2021

Date:                                            Heller Batton


____________________________________             _____________________________________
Date:                                            Gregory P. Dopkowski, Sr.


____________________________________             _____________________________________
Date:                                            Samuel Patterson, Jr.


_____________________________________            _____________________________________
Date:                                            Beverly Patterson


____________________________________             _____________________________________
Date:                                            Raheim Patterson


____________________________________             _____________________________________
Date:                                            Syreeta Patterson

                                            29


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         IN WITNESS    WHEREOF,   the parties   have   executed     this Agreement    as follows:




Date:                                                  Nanette     Walls




Date:                                                  Thomas       Scott




Date:                                                  Patricia    Cronin




Date:                                                  William      C. Batton




Date:                                                  Heller     Batton




            0-q.   14!)'?,/
Date:                                                                       <p*o[;J?,
Date:                                                  Samuel      Patterson,   Jr.




Date:                                                  Beverly      Patterson




Date:                                                  Raheim      Patterson




Date:                                                  Syreeta     Patterson
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         IN WITNESS   WHEREOF,   the parties   have   executed     this Agreement    as follows:




Date:                                                 Nanette      Walls




Date:                                                 Thomas       Scott




Date:                                                 Patricia    Cronin




Date:                                                 William      C. Batton




Date:                                                 Heller     Batton




Date:                                                 Gregory      P. Dopkowski,     Sr.




                                                      Samuel      Patterson.   Jr.




Date:                                                 Raheim       Patterson




Date:                                                 Syreeta     Patterson



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        IN WITNESS WHEREOF, the parties have executed this Agreement as follows:




Date:                                            Nanette Walls



Date:                                            Thomas Scott


____________________________________             _____________________________________
Date:                                            Patricia Cronin


____________________________________             _____________________________________
Date:                                            William C. Batton



Date:                                            Heller Batton


____________________________________             _____________________________________
Date:                                            Gregory P. Dopkowski, Sr.


____________________________________             _____________________________________
Date:                                            Samuel Patterson, Jr.


_____________________________________            _____________________________________
Date:                                            Beverly Patterson

          08 / 05 / 2021
____________________________________             _____________________________________
Date:                                            Raheim Patterson

         08 / 05 / 2021
____________________________________             _____________________________________
Date:                                            Syreeta Patterson

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          08 / 08 / 2021
____________________________________        _____________________________________
Date:                                       Arnold N. Welsh, Jr.

           08 / 08 / 2021
____________________________________        _____________________________________
Date:                                       Lois A. Welsh




                                            SMITH, GILDEA & SCHMIDT, LLC

           08 / 02 / 2021
                                            By:
Date:                                             Michael Paul Smith, Authorized Member



                                            JOSEPH GREENWALD & LAAKE, P.A.

          08 / 02 / 2021
_________________________________           By:
Date:                                          Timothy F. Maloney, Authorized Principal




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                                          SIERRA PACIFIC MORTGAGE
                                          COMPANY, INC.

              8/5/2021
                                          By:
Date:                                             Gary Clark    , Authorized Agent
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                                                                                            Audit Trail

Title
                              Walls, et al. v. Sierra Pacific Mortgage - Final Settlement...
File Name
                          Settlement Agreem...for pltf sigs.pdf
Document ID
                        562369cd556cbb42a5ec1a83f2f60c7751263b47
Audit Trail Date Format
            MM / DD / YYYY
Status                                Out For Signature




                 08 / 02 / 2021     Sent for signature to Nanette McKelvin (Walls)
                 14:50:04 UTC       (nanette.mckelvin@verizon.net), Thomas Scott
                                    (tscott89@comcast.net), Patricia Cronin
                                    (tscott89@comcast.net), William Batton
                                    (bill.batton@zaunerlaw.com), Heller Batton
                                    (bill.batton@zaunerlaw.com), Arnold Welsh
                                    (loiswelsh1@gmail.com), Lois Welsh (loiswelsh1@gmail.com),
                                    Michael Paul Smith (mpsmith@sgs-law.com) and Timothy F.
                                    Maloney (tmaloney@jgllaw.com) from sfedak@sgs-law.com
                                    IP: 71.121.161.122




                 08 / 02 / 2021     Viewed by Timothy F. Maloney (tmaloney@jgllaw.com)
                 14:50:31 UTC       IP: 45.41.142.158




                 08 / 02 / 2021     Signed by Timothy F. Maloney (tmaloney@jgllaw.com)
                 14:50:49 UTC       IP: 174.198.192.95




                 08 / 02 / 2021     Viewed by William Batton (bill.batton@zaunerlaw.com)
                 15:18:12 UTC       IP: 96.86.9.2
             Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page 40 of 52
                                                                                            Audit Trail

Title
                              Walls, et al. v. Sierra Pacific Mortgage - Final Settlement...
File Name
                          Settlement Agreem...for pltf sigs.pdf
Document ID
                        562369cd556cbb42a5ec1a83f2f60c7751263b47
Audit Trail Date Format
            MM / DD / YYYY
Status                                Out For Signature




                 08 / 02 / 2021     Viewed by William Batton (bill.batton@zaunerlaw.com)
                 15:18:12 UTC       IP: 96.86.9.2




                 08 / 02 / 2021     Signed by William Batton (bill.batton@zaunerlaw.com)
                 15:25:21 UTC       IP: 96.86.9.2




                 08 / 02 / 2021     Viewed by Heller Batton (bill.batton@zaunerlaw.com)
                 15:25:56 UTC       IP: 96.86.9.2




                 08 / 02 / 2021     Signed by Heller Batton (bill.batton@zaunerlaw.com)
                 15:28:00 UTC       IP: 96.86.9.2




                 08 / 02 / 2021     Viewed by Michael Paul Smith (mpsmith@sgs-law.com)
                 16:09:14 UTC       IP: 71.121.161.122




                 08 / 02 / 2021     Signed by Michael Paul Smith (mpsmith@sgs-law.com)
                 16:12:34 UTC       IP: 107.77.202.108
             Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page 41 of 52
                                                                                            Audit Trail

Title
                              Walls, et al. v. Sierra Pacific Mortgage - Final Settlement...
File Name
                          Settlement Agreem...for pltf sigs.pdf
Document ID
                        562369cd556cbb42a5ec1a83f2f60c7751263b47
Audit Trail Date Format
            MM / DD / YYYY
Status                                Out For Signature




                 08 / 02 / 2021     Viewed by Lois Welsh (loiswelsh1@gmail.com)
                 16:30:31 UTC       IP: 174.192.199.220




                 08 / 08 / 2021     Viewed by Arnold Welsh (loiswelsh1@gmail.com)
                 21:16:25 UTC       IP: 73.86.162.108




                 08 / 08 / 2021     Signed by Arnold Welsh (loiswelsh1@gmail.com)
                 21:22:01 UTC       IP: 73.86.162.108




                 08 / 08 / 2021     Signed by Lois Welsh (loiswelsh1@gmail.com)
                 21:22:37 UTC       IP: 73.86.162.108




                 08 / 08 / 2021     This document has not been fully executed by all signers.
                 21:22:37 UTC
             Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page 42 of 52
                                                                                        Audit Trail

Title
                              Walls v. Sierra Pacific Settlement Agreement
File Name
                          Walls v. Sierra P...xecution Copy.pdf
Document ID
                        315b74a9204463cd5da497d253be5f9773c0bdff
Audit Trail Date Format
            MM / DD / YYYY
Status                                Completed




                 08 / 09 / 2021     Sent for signature to Patricia Cronin
                 19:47:37 UTC       (pcronin2108@gmail.com) from sfedak@sgs-law.com
                                    IP: 71.121.161.122




                 08 / 09 / 2021     Viewed by Patricia Cronin (pcronin2108@gmail.com)
                 19:57:38 UTC       IP: 174.192.195.29




                 08 / 09 / 2021     Signed by Patricia Cronin (pcronin2108@gmail.com)
                 19:59:57 UTC       IP: 73.132.97.25




                 08 / 09 / 2021     The document has been completed.
                 19:59:57 UTC
             Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page 43 of 52
                                                                                    Audit Trail

Title
                              Sierra Pacific Settlement Terms for Signature
File Name
                          Settlement Agreem...Patterson Sig.pdf
Document ID
                        79fe6511650e806c755ddefcdf4b25b18c2adacf
Audit Trail Date Format
            MM / DD / YYYY
Status                                Completed




                 08 / 05 / 2021     Sent for signature to Raheim Patterson
                 18:03:29 UTC       (raheimpatterson@gmail.com) and Syreeta Patterson
                                    (sjpatterson24@gmail.com) from sfedak@sgs-law.com
                                    IP: 71.121.161.122




                 08 / 05 / 2021     Viewed by Syreeta Patterson (sjpatterson24@gmail.com)
                 18:17:29 UTC       IP: 107.23.239.199




                 08 / 05 / 2021     Viewed by Raheim Patterson (raheimpatterson@gmail.com)
                 18:28:43 UTC       IP: 68.134.112.114




                 08 / 05 / 2021     Signed by Syreeta Patterson (sjpatterson24@gmail.com)
                 18:29:58 UTC       IP: 107.23.239.199




                 08 / 05 / 2021     Signed by Raheim Patterson (raheimpatterson@gmail.com)
                 18:30:52 UTC       IP: 68.134.112.114




                 08 / 05 / 2021     The document has been completed.
                 18:30:52 UTC
             Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page 44 of 52
                                                                                     Audit Trail

Title
                              Sierra Pacific Settlement Terms for Signature
File Name
                          Settlement Agreem...opy - for sig.pdf
Document ID
                        9be201b2755ccca07419bd2166198bc30f627e8a
Audit Trail Date Format
            MM / DD / YYYY
Status                                Completed




                 08 / 05 / 2021     Sent for signature to Nanette McKelvin (Walls)
                 18:12:15 UTC       (nanette.mckelvin@verizon.net) from sfedak@sgs-law.com
                                    IP: 71.121.161.122




                 08 / 06 / 2021     Viewed by Nanette McKelvin (Walls)
                 00:14:18 UTC       (nanette.mckelvin@verizon.net)
                                    IP: 108.31.79.67




                 08 / 06 / 2021     Signed by Nanette McKelvin (Walls)
                 00:30:17 UTC       (nanette.mckelvin@verizon.net)
                                    IP: 108.31.79.67




                 08 / 06 / 2021     The document has been completed.
                 00:30:17 UTC
                       Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page 45 of 52


Certificate Of Completion
Envelope Id: 119F0C3DA9B049AA9D7C7BD29FEF5842                                             Status: Completed
Subject: Please DocuSign: Settlement Agreement - Execution Copy - Clean.pdf
Source Envelope:
Document Pages: 33                               Signatures: 1                            Envelope Originator:
Certificate Pages: 1                             Initials: 0                              Gary Clark
AutoNav: Disabled                                                                         16345471-na2
EnvelopeId Stamping: Disabled                                                             Folsom, CA 95630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                         gary.clark@spmc.com
                                                                                          IP Address: 66.60.165.227

Record Tracking
Status: Original                                 Holder: Gary Clark                       Location: DocuSign
        8/5/2021 9:17:45 AM                                gary.clark@spmc.com

Signer Events                                    Signature                                Timestamp
Gary Clark                                                                                Sent: 8/5/2021 9:18:09 AM
gary.clark@spmc.com                                                                       Viewed: 8/5/2021 9:18:16 AM
Chief Operating Officer                                                                   Signed: 8/5/2021 9:19:51 AM
Sierra Pacific Mortgage Company, Inc.                                                     Freeform Signing
                                                 Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(None)                                           Using IP Address: 66.60.165.227


Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


In Person Signer Events                          Signature                                Timestamp

Editor Delivery Events                           Status                                   Timestamp

Agent Delivery Events                            Status                                   Timestamp

Intermediary Delivery Events                     Status                                   Timestamp

Certified Delivery Events                        Status                                   Timestamp

Carbon Copy Events                               Status                                   Timestamp
Michael Kieval                                                                            Sent: 8/5/2021 9:19:52 AM
kieval@thewbkfirm.com                                                                     Viewed: 8/5/2021 9:25:01 AM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


Witness Events                                   Signature                                Timestamp

Notary Events                                    Signature                                Timestamp

Envelope Summary Events                          Status                                   Timestamps
Envelope Sent                                    Hashed/Encrypted                         8/5/2021 9:18:09 AM
Certified Delivered                              Security Checked                         8/5/2021 9:18:16 AM
Signing Complete                                 Security Checked                         8/5/2021 9:19:51 AM
Completed                                        Security Checked                         8/5/2021 9:19:52 AM

Payment Events                                   Status                                   Timestamps
                 Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page EXHIBIT
                                                                          46 of 52 A
                                NOTICE OF CLASS ACTION AND PROPOSED SETTLEMENT

This Notice concerns a proposed class action settlement (“Settlement”) in a lawsuit entitled Walls v. Sierra Pacific Mortgage
Company, Inc., Civil Action No. 1:19-cv-00595-GLR, pending in the U.S. District Court for the District of Maryland (the
“Lawsuit”). If you were a borrower or co-borrower on a residential mortgage loan brokered or originated by Sierra Pacific
Mortgage Company, Inc. (“Sierra Pacific”) that was closed by All Star Title, Inc. (“All Star”) between 1/1/12 and 12/31/16, you
may be eligible for benefits under the Settlement.

       A FEDERAL COURT AUTHORIZED THIS NOTICE. THIS IS NOT A SOLICITATION FROM A LAWYER.

                   PLEASE READ THIS NOTICE CAREFULLY AS IT AFFECTS YOUR LEGAL RIGHTS

What is the Lawsuit about? The Plaintiffs in the Lawsuit allege that between 1/1/12 and 12/31/16, All Star provided unlawful benefits
to certain Sierra Pacific employees and/or agents in exchange for their agreement to refer borrowers to All Star for the settlement of
their Sierra Pacific residential mortgage loans, and that Sierra Pacific should be held liable for the alleged improper actions of its
employees and/or agents. Sierra Pacific denies the allegations in the Lawsuit and contends that its and its employees’ conduct was at
all times lawful and proper. The Court has not made any judgment or other determination of the liability of Sierra Pacific in the Lawsuit.

Why did I get this Notice? You received this Notice because a Class Action Settlement has been reached in the Lawsuit and because
Sierra Pacific’s records show that you may be a member of the Settlement Class described below. This Notice is intended to generally
describe the nature of the Lawsuit, the general terms of the proposed Settlement, and your legal rights and obligations.

Who is part of the Settlement Class? The Settlement Class includes all individuals in the United States who were borrowers on a
federally related mortgage loan (as defined under the Real Estate Settlement Procedures Act, 12 U.S.C. § 2602) originated or brokered
by Sierra Pacific for which All Star Title provided a settlement service, as identified in Section 1100 on the HUD-1 or on the borrower’s
Closing Disclosure, between January 1, 2012 and December 31, 2016. The Settlement Class does not include any person who, during
the period of January 1, 2012, through December 31, 2016, was an employee, officer, member and/or agent of Sierra Pacific and/or All
Star Title; any judicial officer who handles this case, and the immediate family members of such judicial officer(s); and/or any persons
who submit a complete and valid Request for Exclusion by the Exclusion Deadline (defined below).

            You are receiving this notice because you are believed to be a potential member of the Settlement Class

  YOU DO NOT NEED TO SUBMIT A CLAIM TO RECEIVE SETTLEMENT BENEFITS UNDER THE SETTLEMENT


                               YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
 SETTLEMENT CLASS                 If the Court gives final approval to the Settlement,  Anticipated payment date: approximately
 MEMBERS NEED NOT                 and after all potential appeals are exhausted (if any 40 days after the Settlement obtains Final
 MAKE A CLAIM                     are filed), members of the Settlement Class will be   Approval and the approval of the
                                  mailed Settlement Benefits (described below) under Settlement is upheld on appeal (if any are
                                  the Settlement without submitting a claim.            filed).


 IF YOU WISH TO BE                   This is the only option that allows you to retain your   The Exclusion Deadline for Requests for
 EXCLUDED FROM THE                   rights to independently sue Sierra Pacific about the     Exclusion to be mailed to the Settlement
 SETTLEMENT, YOU MUST                claims in this Lawsuit. In order to exclude yourself     Administrator:
 MAIL A REQUEST FOR                  from the Settlement, you must follow the procedure
 EXCLUSION BY NO                     described below and mail your Request for
 LATER THAN _______, 2021            Exclusion to the Settlement Administrator at                                      , 2021
                                                                                         .
                 Case 1:19-cv-00595-GLR Document 45-2 Filed 08/10/21 Page 47 of 52
 IF YOU WISH TO OBJECT               You may write to the Court about why you object to          The Objection Deadline for the Filing
 TO THE SETTLEMENT,                  (i.e., don’t like) the Settlement and think it should not   of Objections with the Court:
 YOU MUST FILE YOUR                  be approved. You must follow the procedure described
 WRITTEN OBJECTION                   below for objecting to the Settlement and file your
 WITH THE COURT BY NO                written objection with the Court at U.S. District Court                             , 2021
 LATER THAN _________,               for the District of Maryland, Northern Division, 101
 2021                                West Lombard Street, Baltimore, MD 21201. You
                                     must also mail your written objection to Class
                                     Counsel, and Counsel for Sierra Pacific.

                                     The address for Class Counsel is:

                                              Michael Paul Smith
                                              Melissa English
                                              Smith, Gildea & Schmidt, LLC
                                              600 Washington Ave, Ste. 200
                                              Towson, MD 21204

                                     The address for Sierra Pacific’s Counsel is:

                                              Michael Y. Kieval
                                              Joseph M. Katz
                                              Weiner Brodsky Kider PC
                                              1300 Nineteenth Street, NW, Fifth Floor
                                              Washington, DC 20036

                                     You may not object to the settlement if you submit a
                                     Request for Exclusion.

 IF YOU WISH TO ATTEND               The Court will hold a “Final Fairness Hearing” to           Scheduled Date of Final Fairness
 THE “FINAL FAIRNESS                 consider the Settlement, Class Counsel’s request for        Hearing:
 HEARING” ON THE                     attorneys’ fees and expenses, and the Class
 SETTLEMENT                          Representatives’ request for service awards. You may,
                                     but are not required to, speak at the Final Fairness                             , 2021
                                     Hearing if you have filed a timely written objection
                                     with the Court. If you intend to speak at the Final
                                     Fairness Hearing, you must state your intention to do
                                     so in your written objection.

 IF YOU DO NOTHING AND               If you do not timely exclude yourself from the
 ARE A MEMBER OF THE                 Settlement and the Court gives final approval to the
 SETTLEMENT CLASS                    Settlement at or after the Final Fairness Hearing, you
                                     will not be able to sue Sierra Pacific for the Released
                                     Claims under the Settlement, but you will still be
                                     eligible to receive the Settlement Benefits described
                                     below.

These Rights and Options are explained in more detail below.

If you have questions concerning the Settlement, you may contact the Settlement Administrator at: (___) _______________ or you can
contact Class Counsel for the Settlement at: (410) 821-6705 or mps@sgs-law.com. You may also obtain more information about the
Settlement, including a copy of the Settlement Agreement and the Motions and Court Orders relating thereto, through the Settlement
Administrator’s website at ____________________________.

The Court has preliminarily approved the Settlement and will decide later whether to give final approval to the Settlement. The relief
provided to Settlement Class Members will be provided only if the Court gives final approval to the Settlement and after any appeals, if
any are filed, are resolved in favor of the Settlement. Please be patient.

You can also access the filings in the Lawsuit through the Court’s public access service, known as PACER, which allows users to obtain
case and docket information online through the PACER Case Locator at https://www.pacer.gov/.
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                 PLEASE DO NOT CALL THE COURT FOR INFORMATION ABOUT THE SETTLEMENT.




 1.       What is this lawsuit about?

The Plaintiffs in the Lawsuit allege that Sierra Pacific and All Star had an agreement by which employees of Sierra Pacific assigned and
referred residential mortgage loans to All Star for title and settlement services in exchange for alleged things of value. Plaintiffs contend
that this violated certain federal laws and negatively impacted those borrowers who were referred by Sierra Pacific to All Star Title. The
Plaintiffs also contend that Sierra Pacific should be held responsible for the conduct of allegedly accepting and that All Star Title should
be held responsible for the conduct of allegedly providing unlawful benefits in exchange for an agreement to refer Sierra Pacific
borrowers to All Star Title. Sierra Pacific denies the allegations in the Lawsuit and contends that it and its employees’ conduct was at
all times lawful and proper. Sierra Pacific has agreed to the Settlement solely to avoid the further expense and inconvenience of further
proceedings in the Lawsuit and did so without any admission of wrongdoing or liability. The Court has not made any judgment or other
determination of the liability of Sierra Pacific in the Lawsuit.

 2.       What is a class action?

In a class action lawsuit, one or more people called Plaintiffs sue on behalf of others who may have similar claims. A court can certify
a class for purposes of settling claims in a lawsuit. That is what has happened in this case.

 3.       Why is there a Settlement?

To avoid the costs and uncertainties of the Lawsuit, the Plaintiffs, their attorneys, and Sierra Pacific have agreed to resolve the disputed
claims involving Sierra Pacific and All Star Title in the Lawsuit through a negotiated settlement. The Settlement allows for the Settlement
Class to receive relief through the benefits provided under the Settlement, (as described in Section 5 of this notice) once the Settlement
becomes final. Absent this settlement, the Lawsuit could take years to resolve and the members of the Settlement Class could end up
receiving nothing, since it is unknown whether the Plaintiffs would succeed in the Lawsuit. In granting preliminary approval to the
Settlement, the Court has preliminarily determined that the Settlement is fair and reasonable.

 4.       How do I know if I am part of the Settlement?

The Court has decided that everyone who fits this description is a Settlement Class Member:

         All individuals in the United States who were borrowers on a federally related mortgage loan (as defined under the Real Estate
         Settlement Procedures Act, 12 U.S.C. § 2602) originated or brokered by Sierra Pacific Mortgage Company, Inc., for which All
         Star Title, Inc., provided a settlement service, as identified in Section 1100 on the borrower’s HUD-1 Settlement Statement
         (HUD-1), or on the borrower’s Closing Disclosure (CD), between January 1, 2012 and December 31, 2016. Exempted from
         this class is any person who, during the period of January 1, 2012 through December 31, 2016, was an employee, officer,
         member and/or agent of Sierra Pacific Mortgage Company, Inc., or All Star Title, Inc.; any judicial officer who handles this
         case, and the immediate family members of such judicial officer(s); and/or any persons who submit a complete and valid
         Request for Exclusion by the Exclusion Deadline (defined below).

 5.       What relief does the Settlement provide to the Settlement Class Members?

The Settlement provides that Sierra Pacific will fund a Settlement Fund of $990,000.00 plus Class Counsel Fees and Expenses and Class
Representative Service Awards (if any are awarded by the Court). The Settlement Fund will be placed into a Common Fund administered
by a Court-appointed Settlement Administrator.

The Settlement provides for the following Settlement Benefits:

         Each of these class members shall receive by check a proportionate share of the Common Fund remaining after deduction of
         any awards of Class Counsel Fees and Expenses and Service Awards as provided in [the Settlement Agreement]. The formula
         for distribution shall be the Common Fund less any awards of Class Counsel Fees and Expenses and Service Awards, divided
         by the number of members of the Class who did not file a complete and valid Request for Exclusion by the Exclusion Deadline.
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         To the extent that there is more than one borrower on a Sierra Pacific loan subject to this Settlement, the co-borrowers shall be
         deemed to be one member of the Class and the Settlement Benefits shall be paid by check payable jointly to the co-borrowers
         on such loan.

At this time, Class Counsel estimates that each Borrower (jointly with their co-borrowers, if any) will receive approximately $3,200 in
Settlement Benefits, however the ultimate payment could end up being higher or lower. Settlement benefits will be mailed to members
of the Settlement Class in the form of a check.

The payment of Settlement Benefits is based upon the Settlement receiving final approval, and such approval being upheld on appeal
(if any are filed). Any amount remaining in the Common Fund after the payment of benefits will be returned to Sierra Pacific.

 6.       Who represents the Settlement Class in the Lawsuit?

The Settlement Class is represented by Class Representatives, who are Plaintiffs in the Lawsuit. The appointed Settlement Class
Representatives are: Nanette Walls, Thomas Scott and Patricia Cronin, William C. and Heller Batton, Gregory P. Dopkowski, Sr.,
Samuel and Beverly Patterson, Jr., Raheim and Syreeta Patterson, and Arnold N. and Lois Welsh, Jr.

The Court has also appointed the Plaintiffs’ Counsel to serve as Class Counsel for the Settlement Class. Class Counsel for the Settlement
Class are: Michael Paul Smith and Melissa L. English, of the law firm Smith, Gildea & Schmidt, LLC, and Timothy F. Maloney and
Veronica B. Nannis, of the law firm Joseph Greenwald & Laake, P.A. Class counsel may be contacted as follows:

         By telephone to: (410) 821-6705            By email to: mps@sgs-law.com
         By mail to: Michael Paul Smith, Smith Gildea & Schmidt, LLC, 600 Washington Avenue, Suite 200, Towson, MD 21204.

 7.       Will the Settlement Class Representatives receive any compensation for their efforts in bringing this Action?

The Class Representatives (or each pair of Class Representatives who are co-borrowers) will request a service award of up to $1,000,
and collectively $7,000, for their services and efforts in bringing the Lawsuit. The Court will make the final decision as to the amount
to be paid to the Class Representatives at or after the Final Fairness Hearing. These payments to the Class Representatives will be paid
separately and in addition to the Settlement Benefits available to the Class Representatives, and will not reduce the benefit paid to other
members of the Settlement Class.

 8.       How will Class Counsel be paid?

Class Counsel will ask the Court to give final approval of the Settlement at the Final Fairness Hearing, and will also ask the Court for
an award of attorneys’ fees plus expenses in an amount not to exceed Two Hundred Seventy-Five Thousand ($275,000) Dollars. The
Court will make the final decision as to the amounts to be paid to Class Counsel at or after the Final Fairness Hearing. This payment
will be deducted from the Common Fund before the payment of Settlement Benefits, and is being paid separate from and in addition to
the Settlement Benefits to the Sierra Pacific Class. Any award of fees and expenses to Class Counsel will not reduce the benefit paid to
members of the Settlement Class.

 9.       How do I get paid Settlement Benefits under the Settlement?

If you are a member of the Settlement Class and do not timely exclude yourself from the Settlement, you (and your co-borrower, if any)
will be paid the Settlement Benefit described in Section 5 above by the Settlement Administrator from the Common Fund approximately
40 days after the Settlement obtains Final Approval and the approval of the Settlement is upheld on appeal (if any are filed). Settlement
Class members who do not timely exclude themselves from the class will not need to submit a claim or take other action in order to
receive the Settlement Benefits.

 10.      What do Settlement Class Members give up to obtain relief under the Settlement?

If the Settlement receives final approval, the Court will enter a Final Order and Judgment dismissing the Action “with prejudice” (i.e.,
meaning that it cannot be filed again).

The Settlement Agreement provides for Class Counsel and Sierra Pacific’s counsel to compile a final Class Member List. Upon the
entry of the Final Order and Judgment, the Settlement provides that the Class Representatives, all members of the Class, as identified
on the final Class Member List, who do not timely exclude themselves from the Settlement, and all of their respective spouses, heirs,
executors, personal representatives, subrogees, successors, and assigns (together “the Releasors”), release, remise, resolve, waive, acquit,
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and forever discharge Sierra Pacific, its predecessors, successors, assigns, past and present parents, and subsidiaries, and all of their past
and present agents, directors, officers, employees, shareholders, insurers, financial institution bond-issuers, representatives, and
attorneys (together “the Releasees”) of and from any and all the Released Claims (as defined below).

“Released Claims” means any and all claims, causes of action, suits, obligations, debts, demands, agreements, promises, liabilities,
damages, losses, controversies, costs, expenses, and attorneys’ fees of any nature whatsoever, whether based on any federal law, state
law, common law, territorial law, foreign law, contract, rule, regulation, regulatory promulgation (including, but not limited to, any
opinion or declaratory ruling), common law or equity, whether known or unknown, suspected or unsuspected, asserted or unasserted,
foreseen or unforeseen, actual or contingent, liquidated or unliquidated, punitive, compensatory, or equitable, including Unknown
Claims (as defined below) as of the date of the Final Approval Order, that any of the Releasors have, had, and/or may have against any
of the Releasees which in any way concern and/or relate to: (a) the matters alleged and claims asserted in the Litigation and/or claims
that could have been alleged therein based on the facts alleged in the complaints filed in the Litigation; (b) All Star’s closing of and/or
provision of settlement and/or title services on the loans brokered or made by Sierra Pacific that are the subject of the Settlement; (c)
the origination of the loans that are the subject of the Settlement; (d) the Alleged Claims; (e) any benefit(s), payment(s), and/or thing(s)
of value received by Sierra Pacific and/or its employees, agents, and/or representatives from All Star; and (f) any benefit(s), payment(s),
and/or thing(s) of value received by All Star from Sierra Pacific and/or its employees, agents, and/or representatives (collectively the
“Released Claims”). The Parties shall request that this Release be included in the Final Order and Judgment entered in this case.

The release includes “Unknown Claims,” which means any Released Claims which the Class Representatives or any other Class
Member do not know or suspect to exist in their favor at the time of the release of such claims which, if known by them might
have affected their decision(s) with respect to this Settlement. The Parties stipulate and agree that, upon the entry of the Final
Judgment Order, the Class Representatives shall expressly waive, and each of the Class Members who have not opted out shall
be deemed to have waived, and by operation of the judgment shall have expressly waived, any and all provisions, rights, and
benefits conferred by any law of any state or territory of the United States, or principle of common law or foreign law, which is
similar, comparable, or equivalent to California Civil Code § 1542, which provides:

                  A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR OR
                  RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
                  FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY
                  HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                  WITH THE DEBTOR OR RELEASED PARTY.

The Class Representatives acknowledge, and each of the other Class Members shall be deemed by operation of law to have
acknowledged, that the foregoing waiver was separately bargained for and is a key element of the Settlement. The Class Representatives
further acknowledge, and all Class Members shall be deemed by operation of the Final Judgment Order to have acknowledged, that they
are aware that they may hereafter discover facts in addition to or different from those which they now know or believe to be true with
respect to the subject matters of the Released Claims, but that it is their intention upon the Effective Date, to have, fully, finally, and
forever settled and released any and all claims within the scope of the Released Claims, whether known or unknown, suspected or
unsuspected, contingent or noncontingent, whether or not concealed or hidden, which now exist, may hereafter exist, or may heretofore
have existed, without regard to the subsequent discovery or existence of such different or additional facts. All of the foregoing is the
definition of “Unknown Claims.”

The Class Representatives and the Class Members agree and covenant not to sue any of the Releasees with respect to any of the Released
Claims, or otherwise to assist others in doing so, and agree to be forever barred from doing so, in any court of law or equity, or any other
forum, except for claims to enforce this Agreement.

If you exclude yourself from the Settlement Class, you will retain the right to bring a claim against Sierra Pacific relating to the Released
Claims, but you would not have representation provided for you through this lawsuit, and you would be responsible for hiring your own
attorney, at your own expense.

 11.      How do Settlement Class Members exclude themselves from the Settlement?

Any member of the Settlement Class shall have the right to exclude themselves (i.e., opt out) from the Settlement Class by sending a
written Request for Exclusion from the Settlement Class to the Settlement Administrator at the following address:




Requests for exclusion must be mailed the Settlement Administrator in a post-marked envelope no later than the Exclusion Deadline of
_____________, 2021, and must be signed by the person requesting exclusion from the Settlement Class and any co-borrower(s) on
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their Sierra Pacific loan. Requests for Exclusion must also include the requestor’s full name and current address, the full name and
current address of any co-borrower(s) on their Sierra Pacific loan, the address of the property which secured their Sierra Pacific loan,
and an affirmation, under penalty of perjury, that the requestor seeking to be excluded from the Settlement Class and their co-
borrower(s), if any, wish to opt-out of the Settlement Class and understand that, in doing so, they will not be entitled to any Settlement
Benefits under the Settlement.

If you submit a timely and valid Request for Exclusion from the Class, you will not be a part of the Settlement, will not be eligible to
receive Settlement Benefits, will not be bound by the Final Order and Judgment entered in the Lawsuit, and will not be precluded from
suing on the Released Claims at your own cost.

 12.      How do I tell the Court that I do not like (object to) the Settlement?

At the date, time, and location stated below, the Court will hold a Final Fairness Hearing to determine if the Settlement is fair, reasonable,
and adequate, and to also consider Class Counsel’s request for an award of attorneys’ fees and expenses, and service awards to the Class
Representatives.

If you have not submitted a timely and valid exclusion request and wish to object to the Settlement, you must file with or mail to the
U.S. District Court for the District of Maryland, Northern Division, 101 West Lombard Street, Baltimore, MD 21201, and also mail to
Class Counsel, Michael Paul Smith, Smith, Gildea & Schmidt, LLC, 600 Washington Ave, Ste. 200, Towson, MD 21204, and to Sierra
Pacific’s Counsel, Michael Y. Kieval and Joseph M. Katz, Weiner Brodsky Kider PC, 1300 Nineteenth Street, NW, Fifth Floor,
Washington, DC 20036, a written objection (“Objection”) by the Objection Deadline of ________, 2021, that complies with the
following requirements. All Objections must be signed by the person(s) making the objection, or an attorney or legal guardian authorized
to act on their behalf, and must set forth in detail each component of the Settlement to which they object, the reasons for each such
objection, and any legal authority that they wish the Court to consider in support thereof. Objections must also include the objector’s
full name and current address, the full name and current address of any co-borrower(s) on their Sierra Pacific loan, the address of the
property which secured their Sierra Pacific loan, and an affirmation, under penalty of perjury, that the person on whose behalf the
objection is filed and their co-borrower(s), if any, object to the Settlement and intend to appear at the Final Fairness Hearing, at which
time their objections will be considered, if not previously withdrawn.

You may, but need not, submit your written objection through an attorney of your choice. If you do make your objection through an
attorney, you will be responsible for your own attorney’s fees and costs. Objections filed by attorneys registered for e-filing with this
Court on behalf of Settlement Class Members must be filed through the Court’s electronic court filing (“ECF”) system. An objection
filed with the Court via ECF may redact the objector’s telephone number or email address, so long as the unredacted version is mailed
to Class Counsel and counsel for Sierra Pacific.

IF YOU DO NOT TIMELY AND PROPERLY MAKE YOUR OBJECTION, YOU WILL BE DEEMED TO HAVE WAIVED
ALL OBJECTIONS TO THE SETTLEMENT AND WILL NOT BE ENTITLED TO SPEAK AT THE FINAL FAIRNESS
HEARING.

If you file and mail a timely objection that complies with this paragraph, you must appear at the Final Fairness Hearing, either in person
or through an attorney of your own choice hired at your expense, to object to the fairness, reasonableness, or adequacy of the Settlement,
or to the award of attorneys’ fees, expenses, and costs or to the service awards to the Plaintiffs.




 13.      What is the difference between excluding myself and objecting to the Settlement?

Objecting is simply telling the Court that you don’t like something about the Settlement. You can object only if you stay in the Settlement
Class. Excluding yourself is telling the Court that you don’t want to be part of the Settlement Class. If you timely exclude yourself, you
have no basis to object because the Settlement will no longer affect you.

To the extent any person purports to both object to the settlement and submit a Request for Exclusion from the Class, the objection shall
be deemed invalid and of no effect, and the person shall be deemed solely to have opted-out of the class.

 14.      When and where will the Final Fairness Hearing occur?

The Court has preliminarily approved the Settlement and will hold a hearing to decide whether to give final approval to the Settlement.
The purpose of the Final Fairness Hearing will be for the Court to determine whether the Settlement should be approved as fair,
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reasonable, adequate, and in the best interests of the Class; to consider the award of attorneys’ fees and expenses to Class Counsel; and
to consider the request for a service award to the Class Representatives.

The Final Fairness Hearing will take place at _____ _.m. on __________, 2021 in Courtroom __ of the United States Courthouse,
Northern Division, 101 West Lombard Street, Baltimore, MD 21201. The Court may elect to hold the Final Fairness Hearing by
telephone or through some other virtual means at the same time and date. The hearing may be postponed to a different date or time or
location as may be reflected on the online docket for the Lawsuit accessible through PACER. Please check the Settlement
Administrator’s website at _______________________ for updates about the Settlement generally or the Final Fairness Hearing
specifically.

At that hearing, the Court will be available to consider objections concerning the fairness of the Settlement. As described above in
Section 12 of this Notice, you may speak at the Final Fairness Hearing only if: (a) you have timely filed your written objection with the
Court and timely mailed your written objection to Class Counsel and Counsel for Sierra Pacific; and (b) followed the procedures set
forth above for notifying the Court and the parties that you intend to speak at the Final Fairness Hearing. If you have requested exclusion
from the Settlement, however, you may not speak at the Final Fairness Hearing.

              GETTING MORE INFORMATION & UPDATED INFORMATION ABOUT THE SETTLEMENT

To see a copy of the Settlement Agreement (which defines certain capitalized terms used in this notice and provides a brief summary of
what has happened in the Lawsuit), the Court’s preliminary approval order, the operative complaint filed in the Lawsuit, and other filings
regarding the Settlement, please visit the Settlement Website located at: ________________. Alternatively, you may contact the
Settlement Administrator at [postal address].

The above description of the Lawsuit is general and does not cover all of the issues and proceedings that have occurred in the Lawsuit.
In order to see the complete file for the Lawsuit, you may access it online through the PACER system at http://pacer.psc.uscourts.gov/.
You may also contact Class Counsel by calling (410) 821-6705.

DO NOT ADDRESS ANY QUESTIONS ABOUT THE SETTLEMENT TO THE COURT.


Dated:                                                                           By:    Order of the U.S. District Court
                                                                                        For the Northern District of Maryland
                                                                                        Honorable George L. Russell, Magistrate Judge
